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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

NEW MEXICO CATTLE GROWERS’                     )
ASSOCIATION,                                   )
                                               )
Plaintiff,                                     )
                                               )
v.                                             )
                                               )
UNITED STATES ENVIRONMENTAL                    )
PROTECTION AGENCY, et al.,                     )
                                               )
Defendants,                                    )
                                               )
       and                                     )        No. 1:19–CV–00988–RB–SCY
                                               )
AMIGOS BRAVOS, NEW MEXICO                      )
ACEQUIA ASSOCIATION, and GILA                  )
RESOURCES INFORMATION                          )
PROJECT,                                       )
                                               )
Intervening Cross-Claimants-                   )
Defendants,                                    )
                                               )
v.                                             )
                                               )
UNITED STATES ENVIRONMENTAL                    )
PROTECTION AGENCY, et al.,                     )
                                               )
Cross-Defendants.                              )

              WATER GROUPS’ POSITION ON CONTINUATION OF STAY

       Amigos Bravos, New Mexico Acequia Association, and Gila Resources Information

Project take no position on the Agencies’ proposal to continue the stay through June 1, 2021,

Dkt. 61, or Plaintiff’s proposal to maintain the stay through May 1, 2021, Dkt. 62.
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       Respectfully submitted this 16th day of March, 2021.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 16th, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record.

                                                     /s/ Megan Hinkle Huynh




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